Appellate
      Appellate
          Case: Case:
                22-1409
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                                     010110830842
                                          36 Date Filed:
                                                   Date 03/22/2023
                                                         Filed: 03/22/2023
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                                       UNITED STATES COURT OF APPEALS
                                            FOR THE TENTH CIRCUIT

        ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                             PARTIES

     Menocal, et al.


     v.                                                                                            Case No. 22-1409
     The GEO Group

                             ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 Alejandro Menocal, Marcos Brambila, Lourdes Argueta, Hugo Hernandez, Grizel Xahuentitla, Jesus Gaytan, Olga Alexaklina, Dagoberto Vizguerra, and Demetrio Valerga
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________

 Appellees
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Jennifer D. Bennett                                                                      Robert D. Friedman
 ______________________________________                                                  ______________________________________
 Name of Counsel                                                                         Name of Counsel
 /s/ Jennifer D. Bennett
 ______________________________________                                                  /s/ Robert D. Friedman
                                                                                        ______________________________________
 Signature of Counsel                                                                    Signature of Counsel
 100 Pine St, Suite 1250 San Francisco, CA 94111; (415) 573-0336                         2001 K St NW, Suite 850 NW, Washington, DC 20009; (202) 888-1741
 ______________________________________                                                 ______________________________________
 Mailing Address and Telephone Number                                                   Mailing Address and Telephone Number
 jennifer@guptawessler.com
 ______________________________________                                                  robert@guptawessler.com
                                                                                        _____________________________________
 E-Mail Address                                                                          E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

□ The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 □
 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.


 03/23/2023
 _________________________
 Date
 /s/ Jennifer D. Bennett
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
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      Appellate
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                                                         Filed: 03/22/2023
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         □
         
         ✔       All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

        □ On ___________________________ I sent a copy of this Entry of Appearance
                                  [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 03/23/2023
 _________________________
 Date

 /s/ Jennifer D. Bennett
 _______________________________________
 Signature




                                                    3
